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                         UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF CALIFORNIA


United States of America,

               Plaintiff,                    No. 2:11CR00210-JAM-2
       vs.

Nadia Kuzmenko,

               Defendant.                    ORDER & WRIT OF HABEAS CORPUS
                                      /      AD TESTIFICANDUM

        Nadia Kuzmenko, inmate #65989-097, a necessary subject in the bail proceedings in
this case on 11/3/2017, is confined in the Federal Correctional Institution, Phoenix, Arizona,
37900 N. 45th Avenue, Phoenix, Arizona 85086, in the custody of the Warden; in order to
secure this inmate’s attendance it is necessary that a Writ of Habeas Corpus ad Testificandum
issue commanding the custodian to produce the inmate in the Magistrate Court, 8th Floor, of the
United States District Courthouse, 501 I Street, Sacramento, California on November 3, 2017 at
2:00 p.m.

       ACCORDINGLY, IT IS ORDERED that:

       1. A Writ of Habeas Corpus ad Testificandum issue, under the seal of this court,
commanding the Warden to produce the inmate named above to testify in United States District
Court at the time and place above, and from day to day until completion of court proceedings or
as ordered by the court; and thereafter to return the inmate to the above institution;

        2. The custodian is ordered to notify the court of any change in custody of this inmate
and is ordered to provide the new custodian with a copy of this writ; and

       3. The Clerk of the Court is directed to serve a courtesy copy of this order and writ of
habeas corpus ad testificandum on the United States Marshal, 501 I Street, Sacramento,
California 95814

                   WRIT OF HABEAS CORPUS AD TESTIFICANDUM

To: The Warden/or Sheriff of name and address of institution:

         WE COMMAND you to produce the inmate named above to testify before the United
States District Court at the time and place above, and from day to day until completion of the
proceedings or as ordered by the court; and thereafter to return the inmate to the above
institution.

       FURTHER, you have been ordered to notify the court of any change in custody of the
inmate and have been ordered to provide the new custodian with a copy of this writ.
DATED: September 19, 2017
